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 10                                 UNITED STATES DISTRICT COURT
 11               CENTRAL DISTRICT OF CALIFORNIA—WESTERN DIVISION
 12
 13 PJAM LLC,                                              CASE NO.
 14                              Plaintiff,                NOTICE OF REMOVAL OF
                                                           ACTION
 15             vs.
 16 XX GLOBAL, INC., JAQUES                                [28 U.S.C. § 1441(b) – Diversity]
    WEBSTER, and DOES 1-20, inclusive,
 17
                  Defendants.
 18
 19             TO THE CLERK OF THE ABOVE-ENTITLED COURT:
 20             PLEASE TAKE NOTICE that Defendants XX Global, Inc. and Jacques
 21 Webster1 (together, “Defendants”) hereby remove to this Court the state court action
 22 described below:
 23             1.         On March 20, 2018, an action was commenced in the Superior Court of
 24 the State of California, County of Los Angeles, entitled PJAM LLC, Plaintiff, vs.
 25 XX Global, Inc., Jaques Webster, and Does 1-20, inclusive, Defendants, as Case No.
 26 SC129025. A copy of the complaint is attached hereto as Exhibit “A.”
 27
    1
 28 Jacques Webster (p/k/a Travis Scott) was sued erroneously as “Jaques Webster.”
      3975.065/1296138.1
                                              NOTICE OF REMOVAL OF ACTION
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                 1             2.         The first date upon which Defendants received a copy of the said
                 2 complaint was April 3, 2018, when Defendants were served with a copy of the said
                 3 complaint and a summons from the said court. A copy of the summons is attached
                 4 hereto as Exhibit “B.”
                 5             3.         Defendants agreed to accept service of the summons and complaint via
                 6 email. Copies of the Notices and Acknowledgments of Receipt, dated April 3,
                 7 2018, are attached as Exhibit “C.”
                 8             4.         All other pleadings, process and orders served on Defendants in the
                 9 state court action are attached as Exhibit “D.”
                10             5.         This action is a civil action of which this Court has original jurisdiction
                11 under 28 U.S.C. § 1332. This action is one which may be removed to this Court by
                12 Defendants pursuant to the provisions of 28 U.S.C. § 1441(b) in that it is a civil
                13 action between citizens of different states and the matter in controversy exceeds the
                14 sum of $75,000, exclusive of interest and costs. The complaint seeks damages in
                15 excess of $160,000.
                16             6.         Complete diversity of citizenship exists in that Plaintiff PJAM LLC is a
                17 New York corporation with its principal place of business in New York, Defendant
                18 XX Global, Inc. is a Delaware corporation with its principal place of business in
                19 Tennessee, and Defendant Jacques Webster (an individual) is a citizen of Texas.
                20
                21 DATED:                 April 16, 2018          KING, HOLMES, PATERNO &
                                                                  SORIANO, LLP
                22
                23
                24                                                By:             /s/ Howard E. King
                25                                                                 HOWARD E. KING
                                                                                  MATTHEW J. CAVE
                26
                                                                  Attorneys for Defendants
                27                                                XX GLOBAL, INC. and JACQUES WEBSTER
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 PATERNO &
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SORIANO, LLP                                               NOTICE OF REMOVAL OF ACTION
